Case 3:05-cv-00731-FLW-TJB Document 59 Filed 11/04/09 Page 1 of 1 PageID: 1211



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                               :        Civil Action No. 05-731(FLW)
VINCENT SGRO et al.                            :
          Plaintiff,                           :            ORDER OF DISMISSAL
                                               :
                                               :
               v.                              :
                                               :
                                               :
BLOOMBERG, L.P.                                :
         Defendant.                            :
                                               :
                                               :

        It having been reported to the Court that the above-captioned action has been settled in its

entirety;

        IT IS on this 4th day of November, 2009;

        ORDERED THAT:

        (1) This action is hereby DISMISSED without costs and without prejudice to the right, upon

motion and good cause shown, within 60 days, to reopen this action if the settlement is not

consummated; and

        (2) If any party shall move to set aside this Order of Dismissal as provided in the first

paragraph or pursuant to the provisions of Fed. R. Civ. P. 60(b), in deciding such motion the Court

retains jurisdiction of the matter to the extent necessary to enforce the terms and conditions of any

settlement entered into between the parties.

                                                      s/Freda L. Wolfson
                                                      Freda L. Wolfson
                                                      United States District Judge
